           Case 2:17-cr-00218-RSL         Document 27        Filed 09/27/17     Page 1 of 3




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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR17-218-RSL
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   KYLE R. MCCLURE,                     )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Produce Controlled Substances; Possession of a

15 Controlled Substance with Intent to Distribute; Forfeiture Allegation

16 Date of Detention Hearing:     September 27, 2017.

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably assure

20 the appearance of defendant as required and the safety of other persons and the community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant has been charged with a drug offense, the maximum penalty of which



     DETENTION ORDER
     PAGE -1
             Case 2:17-cr-00218-RSL          Document 27        Filed 09/27/17      Page 2 of 3




01 is in excess of ten years. There is therefore a rebuttable presumption against defendant as to

02 both dangerousness and flight risk, under 18 U.S.C. § 3142(e).

03            2.      Defendant does not have a viable release address. Inpatient drug treatment with

04 mental health treatment services is being sought, but has not yet been arranged as of this time.

05 Defendant has a lengthy criminal record with multiples failures to appear with bench warrant

06 activity. When arrested, he allegedly has a number of controlled substances on his person,

07 vehicle, or his apartment. He has a history of substance abuse.

08            3.      Taken as a whole, the record does not effectively rebut the presumption that no

09 condition or combination of conditions will reasonably assure the appearance of the defendant

10 as required and the safety of the community.

11 It is therefore ORDERED:

12         1. Defendant shall be detained pending trial and committed to the custody of the Attorney

13            General for confinement in a correction facility separate, to the extent practicable, from

14            persons awaiting or serving sentences or being held in custody pending appeal;

15         2. Defendant shall be afforded reasonable opportunity for private consultation with

16            counsel;

17         3. On order of the United States or on request of an attorney for the Government, the person

18            in charge of the corrections facility in which defendant is confined shall deliver the

19            defendant to a United States Marshal for the purpose of an appearance in connection

20            with a court proceeding; and

21 / / /

22 / / /



     DETENTION ORDER
     PAGE -2
         Case 2:17-cr-00218-RSL          Document 27        Filed 09/27/17      Page 3 of 3




01     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

02        for the defendant, to the United States Marshal, and to the United State Pretrial Services

03        Officer.

04        DATED this 27th day of September, 2017.

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06                                                      A
                                                        Mary Alice Theiler
07                                                      United States Magistrate Judge

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     DETENTION ORDER
     PAGE -3
